                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

IN RE:                                           §           Case No. 18-30888-HCM
GUILLERMO PALLARES                               §
CARMEN C. PALLARES                               §
     Debtor(s)                                   §                   Chapter 7

                 RESPONSE TO MOTION OF BANK OF AMERICA, NA
                          TO LIFT AUTOMATIC STAY

       Ronald E. Ingalls, Chapter 7 Trustee, files this Response to Motion of Bank of America,

NA, to Lift Automatic Stay, and would show the Court as follows:

       1.      The allegations of paragraph 1 through 4 are admitted.

       2.      The Trustee is without sufficient information to admit the allegations of paragraphs

5 through 9, and therefore denies the same.

       3.      The allegations of paragraph 10 are denied. The Motion itself discloses a debt of

approximately $20,000, but shows that the property may be worth $182,000. The Trustee has

employed a real estate broker, and expects this property to sell soon. There is sufficient equity to

adequately protect the Movant.

       WHEREFORE, PREMISES CONSIDERED, Ronald E. Ingalls, Chapter 7 Trustee, prays

that the Court deny the Motion of Bank of America, NA, to Lift Automatic Stay, regarding the

property described as 8524 A Wingo Way, El Paso Texas and for other just relief.

                                                     /s/ Ronald E. Ingalls
                                                     Ronald E. Ingalls
                                                     Chapter 7 Trustee
                                                     SBT 10391900
                                                     PO Box 2867
                                                     Fredericksburg, TX 78624
                                                     Tel: (830) 321-0878
                                                     Fax: (830) 321-0913
                                                     Email: ron@ingallstrustee.com
                                CERTIFICATE OF SERVICE

       The signature above certifies that a true and correct copy of the foregoing document has
been served by first class, U.S. mail, postage prepaid via the noticing center with service ordered
on February 12, 2019, on the following:

                                            Pallares, Guillermo And Pallares, Carmen C.
     United States Trustee - EP12
     United States Trustee                  8520 Wingo Way
                                            El Paso, TX 79907
     615 E Houston Ste 533
     San Antonio, TX 78205-2055

     Bank of America, NA
                                            MIGUEL ALEJANDRO FLORES
     c/o Megan F. Clontz, Esq
     2201 W Royal Lane Ste 155              TANZY & BORREGO LAW OFFICES
     Irving, TX 75063                       2610 MONTANA AVENUE
                                            EL PASO, TX 799033712
